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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 MONIQUE GRIMES, as Personal
 Representative of the Estate of
 DAMON GRIMES, Deceased,

       Plaintiff,                                  Case No. 17-cv-12860
 v                                                 Hon. Gershwin A. Drain
                                                   consolidated with
                                                   Case No. 17-cv-13580
 TROOPER MARK BESSNER and
 TROOPER ETHAN BERGER,

       Defendants.

 GEOFFREY N. FIEGER (P30441)                 MARK E. DONNELLY (P39281)
 JAMES J. HARRINGTON, IV (P65351)            JOSEPH T. FROEHLICH (P71887)
 GINA U. PUZZUOLI (P37992)                   JOHN F. FEDYNSKY (P65232)
 Fieger, Fieger, Kenney & Harrington, P.C.   Assistant Attorneys General
 Attorneys for Plaintiff                     Attorneys for Trooper Ethan Berger
 19390 West 10 Mile Road                     Civil Litigation, Employment &
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                                             Lansing, MI 48909
                                             (517) 373-6434


 INDEX OF EXHIBITS TO PLAINTIFF'S MOTION FOR LEAVE TO FILE
              A SECOND AMENDED COMPLAINT

       Exhibit             Description

       A                   Plaintiff's Proposed Second Amended Complaint
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                                    Respectfully submitted,


                                    /s/ Geoffrey N. Fieger _________
                                    GEOFFREY N. FIEGER (P30441)
                                    JAMES J. HARRINGTON IV (P65351)
                                    GINA U. PUZZUOLI (P37992)
                                    Fieger, Fieger, Kenney & Harrington PC
 Dated: May 15, 2018                Attorneys for Plaintiff




                        CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2018, I electronically filed the
 foregoing paper with the Clerk of the Court using the ECF system which
 will send notification of such filing to all participating attorneys.

                              /s/: Samantha M. Teal
                       Legal Assistant to Geoffrey N. Fieger




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